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                                                                        Page 1
                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEVADA

                                         -   -   -

        IN RE:                    :              Civil Action
                                  :              DOCKET NO.
        CUNG LE, NATHAN QUARRY,   :              2:15-cv-01045-RFB-
        JON FITCH, BRANDON VERA,  :              (PAL)
        LUIS JAVIER VAZQUEZ and   :
        KYLE KINGSBURG, on behalf :              CLASS ACTION
        of themselves and all     :
        others similarly          :
        situated,                 :
                                  :
                    Plaintiffs,   :
                                  :
                    v.            :
                                  :
        ZUFFA, LLC, d/b/a         :
        ULTIMATE FIGHTING         :
        CHAMPIONSHIP and UFC,     :
                                  :
                    Defendants.   :

                                     -   -   -
                         Wednesday, September 27, 2017
                                   -   -   -

                      Videotaped deposition of
               HAL J. SINGER, Ph.D., taken pursuant to
               notice, was held at the law offices of
               Berger & Montague, P.C., 1622 Locust
               Street, Philadelphia, Pennsylvania 19103,
               beginning at 9:24 AM, on the above date,
               before Constance S. Kent, a Certified
               Court Reporter, Registered Professional
               Reporter, Certified LiveNote Reporter, and
               Notary Public in and for the Commonwealth
               of Pennsylvania.
                                 *  *  *
                           MAGNA LEGAL SERVICES
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                                                                   Page 41
   1                  market definition and which

   2                  weighting method I use, right?

   3                  That -- that will generate a

   4                  foreclosure share that gets spit

   5                  out, I think, of a Microsoft Excel

   6                  file, and that foreclosure share

   7                  is going to be spit out alongside

   8                  each observation in the dataset.

   9                           The regression finds a

  10                  relationship between that

  11                  foreclosure share and the

  12                  fighters' wage share controlling

  13                  for all other things and then the

  14                  regression is done.

  15                           At that point, I -- I can

  16                  make use of the parameters that

  17                  come out of the regression to

  18                  project what a fighter's wage

  19                  share would be in a but-for world

  20                  in which the foreclosure share was

  21                  lower.

  22                           Sorry, I'm being -- I'm

  23                  being attacked here by a gnat.

  24                  And -- thank you.
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                                                                   Page 42
   1                           And I use three different

   2                  scenarios:        Zero percent,

   3                  20 percent and 30 percent.

   4       BY MR. ISAACSON:

   5                  Q.       Now, when you use a world in

   6       which there -- Zuffa has zero percent

   7       foreclosure, how does that translate into

   8       any -- a market share for Zuffa?

   9                  A.       Oh, it could accommodate

  10       many different market shares for Zuffa.

  11       It is -- one way of putting it is almost

  12       agnostic to the market share.                  It

  13       could -- it could accommodate many.

  14                           You can have -- just to be

  15       clear, you can have a high market share

  16       and zero foreclosure share if all of your

  17       fighters are under, say, 12-month

  18       contracts.

  19                  Q.       And do I understand

  20       correctly that if all the Zuffa fighters

  21       were under 12-month contracts, you would

  22       expect the foreclosure share of Zuffa to

  23       be zero or close to zero?

  24                           MR. CRAMER:         Objection to
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                                                                   Page 43
   1                  form.

   2                           THE WITNESS:         So I -- I deem

   3                  a fighter to be foreclosed, or to

   4                  be working or employed pursuant to

   5                  an exclusionary contract if, as

   6                  you know, the contract is

   7                  exclusive and if the duration

   8                  exceeds a certain number of

   9                  months.      I use 30 months I think

  10                  as my -- my baseline approach.

  11                           And so if you -- if you

  12                  allow me to use that 30-month

  13                  baseline or cutoff as a measure

  14                  for whether a fighter is

  15                  foreclosed, and if your question

  16                  posits that every Zuffa fighter

  17                  under contract is -- is at

  18                  12 months, then by construction,

  19                  12 months is less than 30 months,

  20                  and therefore, under that

  21                  particular measure of foreclosure,

  22                  no fighter would be foreclosed.

  23       BY MR. ISAACSON:

  24                  Q.       All right.        Is there any --
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                                                                  Page 117
   1                           THE WITNESS:         Do I

   2                  ordinarily do it?            I'm sorry, I'm

   3                  just not following.

   4       BY MR. ISAACSON:

   5                  Q.       How about in standard

   6       economics?

   7                           MR. CRAMER:         Same objection.

   8                           THE WITNESS:         I think that

   9                  in standard economics you would

  10                  put the wage in the numerator and

  11                  you'd put the marginal revenue

  12                  product in the denominator.

  13       BY MR. ISAACSON:

  14                  Q.       And the marginal revenue

  15       product would be expressed as a dollar

  16       value?

  17                  A.       Yes.

  18                  Q.       And do economists ordinarily

  19       measure the productivity of the

  20       additional output -- well, let me put it

  21       differently.

  22                           Do economists generally

  23       measure the productivity created when a

  24       firm adds a worker in dollar terms as
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 7 of 31


                                                                  Page 118
   1       opposed to as a percentage of revenue?

   2                           MR. CRAMER:         Objection to

   3                  form, to generally.             For what

   4                  purpose?

   5                           THE WITNESS:         A firm could,

   6                  if a firm bills -- if a law firm

   7                  bills an associate out at $400 an

   8                  hour, it could express what the --

   9                  what the young lawyer's salary on

  10                  an hourly basis is as a -- under

  11                  an assumed utilization rate as a

  12                  percentage of that young lawyer's

  13                  bill rate.

  14       BY MR. ISAACSON:

  15                  Q.       And are you aware of any

  16       studies which express the marginal

  17       revenue product of labor in terms of the

  18       percentage of revenue of the firm?

  19                  A.       I'm not aware, but as you've

  20       expressed it, that's not quite what I'm

  21       doing either.

  22                  Q.       Now, in terms of -- did you

  23       make any effort to measure the marginal

  24       revenue product of labor of UFC fighters?
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 8 of 31


                                                                  Page 119
   1                  A.       Yes.

   2                  Q.       Okay.     And what would you

   3       point to me for that?

   4                  A.       What I did, which is I -- I

   5       calculated the average revenue per event,

   6       per fighter, and I'm using that as a

   7       proxy for the marginal revenue product.

   8                  Q.       All right.        If the

   9       average -- when you look at the average

  10       revenue per event, per fighter, how do

  11       you determine what part of that revenue

  12       is the contribution of the fighter as

  13       opposed to, for example, marketing,

  14       promotions, production or the work of the

  15       overall firm?

  16                  A.       So for my purposes, I don't

  17       need to figure out that -- that

  18       decomposition.          I will note, however,

  19       that I cite a study in my literature

  20       review section that suggests that the

  21       fighter is responsible for, if not all,

  22       the vast majority of -- of the

  23       pay-per-view revenues that are captured

  24       and not the brand.
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 9 of 31


                                                                  Page 120
   1                  Q.       Well, I didn't ask about the

   2       brand.

   3                           The -- you would agree --

   4       you would agree with me that effective

   5       marketing and promotion could increase

   6       the average revenue per event, correct?

   7                  A.       Yes.

   8                  Q.       And you would agree with me

   9       that super- -- improving television

  10       production can increase the average

  11       revenue per event?

  12                           MR. CRAMER:         All things

  13                  equal?

  14                           MR. ISAACSON:          Yes.

  15                           THE WITNESS:         I'm not sure

  16                  what -- what you mean by improving

  17                  television production.

  18       BY MR. ISAACSON:

  19                  Q.       A better production that

  20       people enjoy more.

  21                           MR. CRAMER:         Objection to

  22                  form.

  23                           THE WITNESS:         And you're

  24                  asking me if I can conceive of
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 10 of 31


                                                                  Page 142
   1       opposed to number 1 is worth something

   2       more than number 15.

   3                  A.       Right.       So the basis is the

   4       record evidence in the case.                  The record

   5       evidence tells us that the purpose of

   6       the -- of the exclusionary arrangements

   7       is to tie up the most valuable fighter so

   8       as to prevent rivals from getting a

   9       foothold.

  10                           So that tells me

  11       qualitatively that it's more valuable to

  12       have 1 through 15 sewn up than, say, 75

  13       through 90.

  14                           Now the question is, how can

  15       I, as an economist, quantify that -- that

  16       difference in valuation, and I've tried

  17       revenue weighting, I've tried rank

  18       weighting and inverse rank weighting and

  19       I've tried unweighted.               And at the end of

  20       the day, my -- my basic regression model

  21       is not sensitive to how -- how one does

  22       the weighting.

  23                  Q.       I'm just focusing now on

  24       your inverse ranking analysis.                   And I
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 11 of 31


                                                                  Page 143
   1       understand that you concluded the number

   2       1 fighter, for example, is more valuable

   3       than the number 10 ranked fighter, but

   4       what's the basis for quantifying that as

   5       the number 1 fighter is ten times more --

   6       worth ten times more than the number 10

   7       fighter?

   8                  A.       I think there is record

   9       evidence suggesting that it would be

  10       sufficient to lock up only the headliners

  11       in order to -- to cripple or to slow the

  12       advance of a rival promoter.

  13                           So what the record evidence

  14       is telling me is that -- is that 1

  15       through 15, for example, are more

  16       valuable than 75 through 90.                  The record

  17       evidence doesn't necessarily tell me how

  18       to give those fighters more weight.                      So

  19       what I decided to do for one

  20       specification was to weight a fighter

  21       based on his or her inverse rank.

  22                  Q.       All right.         So when you say

  23       headliners, you mean number -- those

  24       ranked 1 through 15, correct?
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 12 of 31


                                                                  Page 144
   1                  A.       I've defined headliners very

   2       precisely as 1 through 15.                 I think the

   3       term headliners can connote other --

   4       other numbers.

   5                  Q.       And in the example that I've

   6       given of the number 1 fighter and the

   7       number 10 fighter, those would both be

   8       headliners within your definition?

   9                  A.       Correct.

  10                  Q.       And the number 1 fighter

  11       would be worth ten times as much as the

  12       number 10 fighter, that's correct?

  13                  A.       Under the --

  14                  Q.       We're only talking about the

  15       inverse rank weighting.

  16                  A.       Good.

  17                  Q.       I'm correct that under the

  18       inverse rank weighting, the number 1

  19       fighter would be weighted ten times as

  20       much as the number 10 fighter; is that

  21       right?

  22                  A.       Correct.

  23                  Q.       And there's nothing in the

  24       record that would support that relative
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 13 of 31


                                                                  Page 151
   1       revenues, variations in pay-per-view

   2       revenues can be explained by -- by who is

   3       being offered, the rank of the -- of the

   4       fighter that's being offered for that

   5       particular event.

   6                  Q.       The -- you mentioned the

   7       subject before, but let me go over it.

   8                           Now, in calculating the

   9       foreclosure share, you used two

  10       alternative definitions.                One was all

  11       Zuffa fighters compared to total MMA

  12       fighters weighted by revenue, and the

  13       other was -- I'm sorry.                Actually, I

  14       think I got that right.

  15                           So in calculating

  16       foreclosure share, you used two

  17       alternative definitions.                One was all

  18       Zuffa fighters compared to total MMA

  19       fighters, and the other you only included

  20       fighters whose contracts contained a

  21       champions clause and had a 30-month or

  22       longer period of exclusivity.

  23                           Do I have that right?

  24                  A.       I think that's fair.
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                                                                  Page 152
   1                  Q.       Okay.      And how did you

   2       decide that the 30-month threshold was

   3       appropriate?

   4                  A.       Primarily two ways.             If you

   5       go to my report, there might be others,

   6       but the first was I'm familiar with --

   7       with various case law that speaks to what

   8       constitutes a contract of sufficient

   9       duration to be considered exclusionary.

  10                           And second basis was that

  11       I -- I looked at the average and medium

  12       duration of a fighter and I -- I wanted

  13       to make sure that -- that the number that

  14       I went with as the cutoff represented a

  15       sizable or significant or material share

  16       of the -- from an economic perspective of

  17       the fighter's average career span.

  18                  Q.       I should have asked you this

  19       before.         When we were looking at Figure

  20       1, market share and 2 -- and Figure 3,

  21       which is foreclosure share, foreclosure

  22       share is the result of your regression?

  23                  A.       No.

  24                  Q.       Is that right?
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 15 of 31


                                                                  Page 153
   1                  A.       No.     So foreclosure share

   2       would be an input to the regression,

   3       right?       And so you can do one pass, which

   4       I did, which is to presume that all

   5       fighters working under -- under a Zuffa

   6       contract will foreclose.                That's one

   7       approach.        And in that case, foreclosure

   8       share just equals Zuffa's market share.

   9       And so whenever a fight or event pair

  10       shows up in the regression database,

  11       you'll see a measure of foreclosure

  12       share, which is just equal to the market

  13       share.

  14                           Under a second approach, you

  15       can -- you can allow the foreclosure

  16       share to deviate from the market share by

  17       insisting that not only does the fighter

  18       work for Zuffa, but the fighter also

  19       fights pursuant to a contract that

  20       contains a championship clause, is

  21       exclusive and runs longer than -- equal

  22       to or longer than 30 months.

  23                  Q.       All right.         So for some of

  24       your models you used a foreclosure share
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                                                                  Page 191
   1       morning for purposes of damages.

   2                  A.       Yes.

   3                  Q.       I'm going to return to that

   4       topic.

   5                           In those benchmarks, you are

   6       using two competitors of -- of Zuffa

   7       comparing the percentage of their

   8       revenues paid to labor or paid to the

   9       fighters to that of Zuffa.                 I think we've

  10       established that, correct?

  11                  A.       Correct.

  12                  Q.       Okay.      Why in economic

  13       theory would you use the percentage of

  14       revenue paid to labor by a competitor as

  15       a benchmark?

  16                  A.       Because this is a voluntary

  17       transaction between a willing buyer and a

  18       willing seller as to the appropriate wage

  19       in the -- in the MMA industry.                   And so I

  20       think if we're looking for -- for

  21       reasonable comparables that exist within

  22       the same relevant market, this is the

  23       logical place to start looking.

  24                  Q.       When you use the term
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 17 of 31


                                                                  Page 192
   1       appropriate wage.

   2                  A.       Yes.

   3                  Q.       Are the Bellator -- is

   4       Bellator paying the fighters higher

   5       average wages than the UFC?

   6                  A.       I'd say it depends on which

   7       fighter you're talking about, but --

   8                  Q.       I said average.

   9                  A.       Yeah, the weight -- sorry.

  10                           MR. CRAMER:         I was going to

  11                  say you mean today, Bellator?

  12                           MR. ISAACSON:          At any time.

  13                           THE WITNESS:          The -- the

  14                  levels of a Bellator or a

  15                  Strikeforce fighter on average

  16                  would tend to be below the levels

  17                  of the UFC fighters.

  18       BY MR. ISAACSON:

  19                  Q.       So why, in economic theory,

  20       would you use the percentage of revenues

  21       that a competitor allocates to the labor

  22       as a benchmark as opposed to the -- the

  23       actual appropriate wage that they decided

  24       to pay?
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 18 of 31


                                                                  Page 193
   1                  A.       Here's why:         The record

   2       evidence tells us that Zuffa had its eye

   3       on the wage share, not the absolute wage,

   4       they had its eyes on the wage share.

   5       They were committed to pushing the wage

   6       share at or below 20 percent.                   This is

   7       how the industry works, this is how they

   8       think.

   9                           Now, imagine a but-for world

  10       in which you strip out the exclusionary

  11       contracts and Strikeforce and Bellator

  12       and others are able to evolve into

  13       legitimate and viable contenders for this

  14       market, what would likely happen is that

  15       their output would expand, their revenues

  16       would expand and now their 60 percent

  17       offerings, or in the case of Bellator

  18       their 48 percent offerings, would start

  19       to draw fighters away from UFC and

  20       towards those rivals.

  21                           And now the question is what

  22       does Zuffa have to do in this -- in this

  23       but-for world?           Is Zuffa able to stay on

  24       its 18 percent share when were all of its
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 19 of 31


                                                                  Page 258
   1       is part of your analysis of what makes a

   2       contract 30 months or longer?

   3                  A.       No.     No, there are few --

   4       the retirement clause and some other

   5       tolling provisions were not counted in --

   6       when I went to add up the durations.                      In

   7       that sense, my -- my method is

   8       conservative.

   9                  Q.       All right.         The -- so the

  10       retirement clause or another tolling

  11       provisions of the contracts, in the

  12       absence of contracts that were 30 months

  13       or longer, you don't have an opinion

  14       about whether they're anticompetitive,

  15       correct?

  16                  A.       On a stand-alone basis, no.

  17                           And you keep -- you keep

  18       saying, just so the record is clear, in

  19       the absence of 30 months.                 Remember it's

  20       exclusive plus duration.

  21                  Q.       Right.       Understood.

  22                  A.       Okay.

  23                  Q.       The -- the exclusive

  24       negotiation clause, is that a provision
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 20 of 31


                                                                  Page 259
   1       that you have taken into account in

   2       calculating the 30 months or more?

   3                  A.       Yes.

   4                  Q.       Am I correct that -- if my

   5       colleague will allow me a compound

   6       question to save time -- that items that

   7       you have discussed include preventing the

   8       use of fighter clips when you move to a

   9       new promotion, moving sponsors with you

  10       when you move to a new promotion, and

  11       warning fighters not to sign over their

  12       likenesses to other promoters, those

  13       would -- you would not have an opinion

  14       about whether those actions were

  15       anticompetitive in the absence of

  16       exclusive contracts that were 30 or more

  17       months?

  18                  A.       I think that's fair.

  19                  Q.       Okay.      And do you have an

  20       opinion about whether exclusivity

  21       provisions with venues, sponsors or

  22       broadcasters are anticompetitive in the

  23       absence of exclusive contracts of 30 or

  24       more months?
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 21 of 31


                                                                  Page 260
   1                  A.       I don't have an opinion.

   2                  Q.       Okay.      Do you, together with

   3       contracts, inclusive contracts that are

   4       30 or more months, do the -- is it your

   5       opinion that the exclusivity provisions

   6       with venues increase the foreclosure

   7       share of Zuffa?

   8                           MR. CRAMER:         Objection to

   9                  form.

  10                           THE WITNESS:          I think that

  11                  in conjunction with the primary

  12                  restrictions on fighter mobility,

  13                  the exclusives on the venues can

  14                  be -- can be considered to be

  15                  anticompetitive.

  16                           Whether they contributed to

  17                  higher foreclosure shares, I'd --

  18                  I'd have think about it.                I

  19                  imagine one might construct a

  20                  story, but I'd have to -- I'd have

  21                  to think about it some more.

  22       BY MR. ISAACSON:

  23                  Q.       Okay.      Today you don't have

  24       an opinion about whether exclusivity
Case 2:15-cv-01045-RFB-BNW Document 743-3 Filed 09/12/19 Page 22 of 31


                                                                  Page 261
   1       provisions with venues, even taken

   2       together with exclusivity agreements with

   3       fighters of 30 or more months, would

   4       increase the foreclosure share --

   5       increase the foreclosure share?

   6                  A.       Like I said, I can imagine

   7       how they could funnel more fighters into

   8       this net and therefore trigger the

   9       mechanism that's causing the rate

  10       suppression in my -- in my models, but I

  11       don't really have an opinion beyond that.

  12                  Q.       In general, we'll save time

  13       if you tell me whether you have opinions

  14       as opposed to what you imagine.

  15                  A.       Okay.

  16                  Q.       Or could imagine.            I don't

  17       mean that as a criticism, I mean that as

  18       constructive.

  19                           MR. CRAMER:         Constructive

  20                  criticism.

  21                           MR. ISAACSON:          No, not even

  22                  that.      A constructive way to get

  23                  through the day.

  24                           MR. CRAMER:         Advice.
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                                                                  Page 270
   1       contract -- 30-month exclusive contracts,

   2       that would drop to near zero?

   3                  A.       Correct.

   4                  Q.       And --

   5                  A.       And so now if you asked me

   6       that at point how to do an allocation

   7       among --

   8                  Q.       No, I'm not --

   9                  A.       -- counter-programming, da,

  10       da, da, we'd be allocating a pot of zero.

  11                  Q.       Let me ask -- let me ask

  12       questions here.            Okay?

  13                           The -- in 2011, both those

  14       numbers rise to about 90 percent.                     Do you

  15       see that?        The blue and purple lines?

  16                  A.       Yes.

  17                  Q.       Okay.      And without the

  18       exclusive 30-year contracts, the

  19       90 percent would drop to almost zero

  20       percent?

  21                  A.       Correct.

  22                  Q.       Okay.      The rise from 2007 to

  23       2011 from 40 -- 30 to 40 percent to

  24       90 percent?
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                                                                  Page 271
   1                  A.       Uh-huh, yes.

   2                  Q.       Right?       Are you able to tell

   3       me how much of that was due to exclusive

   4       contracts of 30 or more months as opposed

   5       to those contracts in combination with

   6       other things such as counter-programming?

   7                           MR. CRAMER:

   8                  Incomprehensible, form.

   9                           THE WITNESS:          I just don't

  10                  understand how you do a

  11                  decomposition like that when

  12                  there's only one necessary

  13                  element.       If the necessary element

  14                  goes, the foreclosure drops to

  15                  zero, and the notion of allocating

  16                  zero across the other elements is

  17                  a fool's errand.

  18       BY MR. ISAACSON:

  19                  Q.       Right.       So if it's a

  20       necessary element to 40 percent or

  21       90 percent, does that tell you why it

  22       rose from 40 to 90 percent?

  23                  A.       No.

  24                           MR. CRAMER:         When it's a
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                                                                  Page 272
   1                  good time to break, we've been

   2                  going for about an hour.

   3                           MR. ISAACSON:          Sure.      Well,

   4                  actually, let me -- unless you're

   5                  dying.

   6                           MR. CRAMER:         No, no, go

   7                  ahead.

   8       BY MR. ISAACSON:

   9                  Q.       There are allegations in

  10       this case of the use of identity rights

  11       of the plaintiffs such as things on Fight

  12       Pass or on posters or on television

  13       episodes.        You're aware of those?

  14                  A.       Yes.

  15                  Q.       Okay.      Are those

  16       anticompetitive acts, in your opinion,

  17       that contribute to the foreclosure

  18       effect?

  19                  A.       The way that I'd prefer to

  20       put it is that when -- when done in

  21       conjunction with what I consider to be

  22       the one necessary element, they're

  23       anticompetitive, they're exacerbating

  24       things, and I don't have an opinion on
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                                                                  Page 287
   1                  A.       I prefer direct evidence

   2       generally, and I think that I've -- I

   3       offer a slew of evidence that speaks to

   4       how you can prove directly that Zuffa

   5       exercises monopsony power.

   6                  Q.       I understand that you

   7       offered direct and indirect evidence, but

   8       I need to ask about them one at a time

   9       and we can cover both.

  10                  A.       Okay.

  11                  Q.       So in terms of when you

  12       define a market, can you describe to me a

  13       situation where if you use revenue

  14       weighting in the input market, where

  15       the -- a monopoly firm would not

  16       necessarily have a monopoly in the input

  17       market?

  18                           MR. CRAMER:         Incomplete

  19                  hypothetical, form.

  20                           THE WITNESS:          I've never

  21                  given thought to that, and I'd

  22                  like to think about it and maybe

  23                  we'll come back.            But I don't

  24                  think I'm prepared to -- to
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                                                                  Page 288
   1                  construct a scenario about how

   2                  that could occur.

   3       BY MR. ISAACSON:

   4                  Q.       All right.         The -- and then

   5       you've described geographic market for

   6       the output market also.                And is that also

   7       North America?

   8                  A.       Yes.

   9                  Q.       All right.         The -- and in

  10       terms of your SSNIP analysis -- all

  11       right.       So did you do -- well, my

  12       colleague wants to know so it seems like

  13       a good question.

  14                  A.       I'm sure it is.

  15                  Q.       In the out -- in the output

  16       market, what is being sold?                  In the

  17       output markets that you have defined.

  18                  A.       Sure.      I think that you

  19       are -- the production or the product that

  20       is being produced are -- is live MMA

  21       events and the revenue associated with

  22       those events can take the form of gate

  23       revenue or pay-per-view.                That's from --

  24       from the consumer side.                Of course,
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                                                                  Page 289
   1       there's -- there's revenues from the

   2       advertiser's side as well.

   3                           But I hope that answers your

   4       question.

   5                  Q.       All right.         And does

   6       pay-per-view compete with broadcast?

   7                           MR. CRAMER:         Objection to

   8                  form.

   9                           THE WITNESS:          I did not

  10                  conduct that inquiry.

  11       BY MR. ISAACSON:

  12                  Q.       Do you have an opinion one

  13       way or another about that?

  14                  A.       No.

  15                  Q.       All right.         With respect to

  16       the -- does -- do the live venue events

  17       compete with pay-per-view events?

  18                  A.       I don't even understand the

  19       question.        Many of the pay-per-view

  20       events are live.

  21                  Q.       Meaning I watch it on

  22       pay-per-view as opposed to go see it

  23       live.

  24                  A.       I haven't -- I haven't
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                                                                  Page 290
   1       studied that and I imagine for someone

   2       who lives very far from the venue where

   3       the live event is staged, they would not

   4       be considered reasonably close

   5       substitutes.

   6                  Q.       So for your input markets,

   7       what evidence did you take into account

   8       to assess customer's likely response to

   9       price increase in the SSNIP analysis?

  10       And feel free to point me to the sections

  11       of your report that --

  12                  A.       Did you mean to say -- I

  13       think you just conflated the input

  14       markets and customers.               Maybe we should

  15       start over.

  16                  Q.       Yes, I said price increase

  17       rather than wage decrease, but let me

  18       just put it this way:               What evidence in

  19       your report did you take into account to

  20       assess the likely response to a SSNIP in

  21       the input markets?

  22                  A.       Sure.      So there it's the

  23       perspective of the fighters not the

  24       customers.         So I was tripping up over
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                                                                  Page 291
   1       your --

   2                  Q.       Yes.

   3                  A.       -- injecting customers when

   4       we're talking about input markets.

   5                           So I can take you to the

   6       relevant sections, and I will, but of

   7       course at high levels, I'm looking at

   8       record evidence of -- of what fighters

   9       and promoters thought about substitution

  10       possibilities as you -- if you were to

  11       move away from Zuffa to counteract a

  12       hypothetical wage cut.

  13                  Q.       Okay.      So the first thing

  14       you looked at was record evidence of

  15       substitution.

  16                  A.       Or the perception of

  17       substitution from the stakeholders, the

  18       fighters, the promoters, and I'll just

  19       point you, if you --

  20                  Q.       That's -- that's sufficient

  21       for -- for item 1.

  22                           MR. CRAMER:         You asked him

  23                  to look at his report.

  24                           MR. ISAACSON:          I'm going
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                                                                  Page 333
   1
   2                              CERTIFICATE
   3
   4
   5                    I HEREBY CERTIFY that the
           witness was duly sworn by me and that the
   6       deposition is a true record of the
           testimony given by the witness.
   7
                        It was requested before
   8       completion of the deposition that the
           witness, HAL J. SINGER, Ph.D., have the
   9       opportunity to read and sign the
           deposition transcript.
  10
  11
  12                 __________________________________
                     Constance S. Kent, CCR, RPR, CLR
  13                  Certified Court Reporter
                      Registered Professional Reporter
  14                  Certified LiveNote Reporter
                      and Notary Public in and for the
  15                 Commonwealth of Pennsylvania
                     Dated:  October 1, 2017
  16
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  20                    (The foregoing certification
  21       of this transcript does not apply to any
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